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1    HAYDN-MYER LAW CORPORATION
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4
5    Attorney for Defendant
     DANIEL HARRISON
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       ) CR. NO. 10-223 JAM
                                     )
13                  Plaintiff,       )       WAIVER OF
                                     ) DEFENDANT’S PRESENCE
14        v.                         )
                                     )
15   DANIEL HARRISON,                )
                                     )
16                  Defendant.       )
                                     )
17   _______________________________ )
18
          Defendant, DANIEL HARRISON, hereby waives the right to be in
19
     person in open court upon the hearing of any motion or to his
20
     proceeding in this cause, including, but not limited to, when the case
21
     is ordered set for trial, when continuance is ordered, and when any
22
     other action is taken by the court before or after trial, except upon
23
     arraignment, plea, impanelment of jury and imposition of sentence.
24
     Defendant hereby requests the court to proceed during every absence of
25
     which the court may permit pursuant to this waiver; agrees that his
26
     interest will be deemed represented at all times by the presence of his
27
     attorney, the same as if defendant were personally present; and further
28
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1    agrees to be present in person in court ready for trial any day and
2    hour the court may fix in his absence.
3         Defendant further acknowledges that he has been informed of his
4    rights under Title 18 U.S.C. Section 3161-3174 (Speedy Trial Act), and
5    authorizes his attorney to set times and delays under that Act without
6    defendant being present.
7
8    Dated: June 16th, 2010
9
                                         Christopher Haydn-Myer /s/
10                                       CHRISTOPHER HAYDN-MYER
                                         Attorney for Defendant
11                                       DANIEL HARRISON
12
     DATED: June 16th, 2010           I consent to the above waiver of
13                                    presence.
14
                                      Christopher Haydn-Myer for
15                                    DANIEL HARRISON
                                      Original in file.
16
17
18    DATED: June 29, 2010
19
20                                       I approve the above waiver of presence.
21
                                       /s/ John A. Mendez ________________________
22                                      JOHN A. MENDEZ
                                        United States District Court Judge
23
24
25
26
27
28                                           2
